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     Sacramento, CA 95814
 3   (916) 444-9845
 4   Attorneys for Defendant
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 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10

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12                                 )
     UNITED STATES OF AMERICA,     )   No. CR S-05-0456 FCD
13                                 )
               Plaintiff,          )
14        v.                       )   STIPULATION AND ORDER
                                   )
15                                 )   DATE:   June 25, 2007
     SERGIO RAMIREZ,               )   TIME:   10:00 a.m.
16                                 )   DEPT:   Hon. Frank C. Damrell, Jr.
               Defendant.          )
17                                 )
18
          Plaintiff United States of America, by its counsel
19
     Assistant United States Attorney William S. Wong, and defendant
20
     Sergio Ramirez, by his counsel Attorney Quin Denvir, hereby
21

22   stipulate and agree that the restitution hearing currently

23   calendared for June 25, 2007 should be continued to
24
     July 2, 2007 AT 10:00 a.m.
25
                                       Respectfully submitted,
26

27
     DATED: June 4, 2007               /s/ Quin Denvir
28                                     QUIN DENVIR
                                       Attorney for Defendant
                                       Sergio Ramirez

                                         1
         Case 2:05-cr-00456-DJC-CKD Document 77 Filed 06/05/07 Page 2 of 2


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 2
                                      McGREGOR SCOTT
 3                                    United States Attorney

 4
     DATED: June 4, 2007               /s/ Quin Denvir
 5
                                      Telephonically authorized to sign
 6                                    for WILLIAM S. WONG
                                      Assistant U. S. Attorney
 7

 8
                                    0 R D E R
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10        IT IS SO ORDERED.
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12   DATED:   June 5, 2007

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14                                _______________________________________
                                  FRANK C. DAMRELL, JR.
15
                                  UNITED STATES DISTRICT JUDGE
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